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WA/WD PTS-WAR-AH
(01/19)                                UNITED STATES DISTRICT COURT
                                                                     for
                                                Western District of Washington
Reid Shawna WAR- AH   -
                            Petition for Warrant for Defendant Under Pretrial Services Supervision
Date of Report: 04/10/2020
Name of Defendant: Shawna Reid                                   Case Number: 2:19CR-00117-RAJ
Name of Judicial Officer: The Honorable Richard A. Jones, United States District Judge
Original Offense: False Declaration Before Grand Jury; Obstruction of Justice
Date Supervision Commenced: 08/20/2019

                                                      PETITIONING THE COURT
                      To issue a warrant under seal

I allege the defendant has violated the following conditions of supervision:

Nature of Noncompliance
   1. Committing a new offense of Reckless Endangerment, on or about April 10, 2020, in Lake Stevens,
      Washington, in violation of her bond.

Nature of Violation Conduct:
On April 20, 2020, at 7:30 p.m., I spoke with Officer Bryant of the Lake Stevens Police Department who stated that he
had just responded to a 911 call involving Shawna Reid. According to Officer Bryant, Ms. Reid had left her house earlier
this evening with her six-year-old nephew and her two children (both under the age of three). She reportedly then
consumed multiple oxycontin and clonazepam pills and was found by officers on a road in traffic with the children,
presenting the risk of significant harm to herself and the children. She was clearly experiencing a significant mental
health episode and was taken into custody by officers. She is being transported to a local hospital where she will be held
under an involuntary mental health commitment pending evaluation by a mental health provider. Police have notified the
Department of Social and Health Services which is managing transfer of the children into the care of responsible family
members.

Ms. Reid’s criminal history includes prior convictions for Operating a Motor Vehicle Under the Influence (2014),
Solicitation of a Controlled Substance by Telephone (2008), Permit Minor to Consume Alcohol (2001), and Theft Third
Degree (1998). She has self-reported significant mental health related issues including a prior suicide attempt and prior
mental health related hospitalizations. She also struggles with a significant history of substance abuse including multiple
different drugs.

United States Probation Officer Recommendation:
      Revoke the bond

                      Detention pending final adjudication due to:
                       Risk of nonappearance
                       Danger to community
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The Honorable Richard A. Jones, United States District Judge                                              Page 2
Petition for Warrant for Defendant Under Pretrial Services Supervision                                 4/10/2020

I swear under penalty of perjury that the              APPROVED:
foregoing is true and correct.                         Connie Smith
                                                       Chief United States Probation and Pretrial Services Officer
Executed on this 10th day of April, 2020.              BY:

A                                                      a
Matthew D. McDaniel                                    Jeanie Blodgett
United States Probation Officer                        Supervising United States Probation Officer



                       THE COURT FINDS PROBABLE CAUSE AND DIRECTS:
   The Issuance of a Warrant under seal
   (conditions of supervision shall remain in effect pending final adjudication)


                                                           J. Richard Creatura, United States Magistrate Judge

                                                                                4/10/2020
                                                                                   Date
